                                     Exhibit 1

                                 Proposed Order




13-53846-tjt   Doc 6979-2   Filed 08/22/14   Entered 08/22/14 16:11:42   Page 1 of 3
                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN

                                                 )
In re                                            ) Chapter 9
                                                 )
CITY OF DETROIT, MICHIGAN,                       ) Case No. 13-53846
                                                 )
                           Debtor.               ) Hon. Steven W. Rhodes
                                                 )

 ORDER GRANTING MOTION IN LIMINE BARRING THE CITY FROM
 INTRODUCING COMMUNICATIONS PROTECTED BY THE COURT’S
                  MEDIATION ORDER

        This matter having come before the Court on Syncora’s Motion in Limine

Barring the City from Introducing Communications Protected by the Court’s

Mediation Order (the “Motion”), the Court having reviewed Syncora’s Motion,

and the Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein;

        IT IS HEREBY ORDERED THAT:

        1.     Syncora’s Motion is GRANTED.

        2.     The City is barred from introducing evidence of communications

covered by the Mediation Order.

        3.     Syncora is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

        4.     The terms and conditions of this Order shall be immediately effective

and enforceable upon its entry.



13-53846-tjt    Doc 6979-2   Filed 08/22/14   Entered 08/22/14 16:11:42   Page 2 of 3
      5.       The Court retains jurisdiction with respect to all matters arising from

or related to the implementation of this Order.

      IT IS SO ORDERED.




                                           2
13-53846-tjt    Doc 6979-2    Filed 08/22/14   Entered 08/22/14 16:11:42   Page 3 of 3
